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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


ELIZABETH SHAW,
                                                       JUDGMENT For ATTORNEY FEES IN A CIVIL CASE
                                Plaintiff,
         v.                                            Case Number: 2:20-cv-02296-NJK
KILOLO KIJAKAZI,


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that Plaintiff's attorney be awarded $9,000 in attorney’s fees pursuant to the Equal Access to Justice Act




         3/7/2022
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/
                                                               /s/ H.
                                                                   D. Magennis
                                                                      Reich-Smith
                                                             Deputy Clerk
